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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              NEWPORT NEWS DIVISION


 ALEXIS GONZALEZ,

                         Plaintiff,                Civil Action No. 4:20-CV-00116-RBS-RJK

         v.

 CUSTOM FRAMING ENTERPRISE
 LLC, et al.,

                         Defendants.


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the Parties

hereby stipulate and agree that Plaintiff’s Complaint against Defendant shall be and hereby is

dismissed in its entirety with prejudice and without costs to any party.



CUSTOM FRAMING ENTERPRISE LLC                         ALEXIS GONZALEZ
& MARIAN SZWANCZAR


By: /s/ Frank A. Edgar, Jr.____                       By: /s/ Nicholas Cooper Marritz
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